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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,                     )      CRIMINAL NO. 17-10083-MLW
                                              )
          v.                                  )
ELIZABETH GURRIERI,                           )
                                              )
       Defendant.                             )


                             STATUS REPORT OF THE PARTIES

       The United States of America, by its attorney, William D. Weinreb, Acting United States

Attorney for the District of Massachusetts, and Defendant Elizabeth Gurrieri, by her undersigned

counsel, submit this Status Report, pursuant to the Court’s Order of August 8, 2017 (Docket No.

44).

       On August 1, 2017, the United States moved the Court to continue Ms. Gurrieri’s

sentencing which had been scheduled for September 13, 2017 (Docket No. 43). At the time, the

United States advised the Court that Ms. Gurrieri agreed to cooperate on behalf of the

government and that it anticipated Ms. Gurrieri would testify on behalf of the government in a

pending criminal matter. Currently, the United States anticipates that Ms. Gurrieri will testify in

at least the matter of United States v. Michael Babich, et al., Civil Action No. 16-10343-ADB

(D. Mass.). On September 13, 2017, the Court in the Babich case entered an order setting a trial

date of October 15, 2018 (Civil No. 16-10343-ADB, Docket No. 163).
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       Because the United States continues to anticipate that Ms. Gurrieri will testify at that

trial, the parties believe that sentencing in this case should not occur prior to the conclusion of

the Babich case.

Respectfully submitted,



WILLIAM D. WEINREB                             CHOATE, HALL & STEWARD, LLP
Acting United States Attorney



By:    /s/ Susan M. Poswistilo                         /s/ Emily F. Hodge
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                                       Certificate of Service

        I hereby certify that the foregoing documents filed through the ECF system will be sent
electronically to all registered participants as identified on the Notice of Electronic Filing (NEF).

Dated: 12_12_2017                                      /s/ Susan M. Poswistilo
                                                       Susan M. Poswistilo
                                                       Assistant U.S. Attorney




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